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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,



                   v.

ROBERT MENENDEZ,                                               Case No. 1:23-cr-00490-SHS
NADINE MENENDEZ,
  a/k/a “Nadine Arslanian,”                                    NOTICE OF APPEARANCE
WAEL HANA,
  a/k/a “Will Hana,”
JOSE URIBE, and,
FRED DAIBES,
                                   Defendants.


                        PLEASE TAKE NOTICE that the undersigned, of the law firm Paul,

Weiss, Rifkind, Wharton & Garrison LLP, is hereby entering an appearance as counsel of record

for Defendant Fred Daibes in the above-captioned case.


Dated:   New York, New York
         October 3, 2023
                                                  PAUL, WEISS, RIFKIND, WHARTON &
                                                   GARRISON LLP

                                                  By: /s/ Roberto Finzi
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